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 1
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 6   ATTORNEY FOR Defendant,
     ROBERT MURGUIA MARTINEZ
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                ******
11   UNITED STATES OF AMERICA,                         Case No.: 1:13-CR-00077-001 LJO
12
                    Plaintiff,                         STIPULATION AND ORDER TO
13                                                     CONTINUE SENTENCING
            v.
14                                                     Date: January 11, 2016
     ROBERT MURGUIA MARTINEZ,
15                                                     Time: 8:30 a.m.
                    Defendant.                         Courtroom: 4
16                                                     Hon. Lawrence J. O’Neill

17          Defendant, ROBERT MURGUIA MARTINEZ, by and through his attorney of record,
18   Anthony P. Capozzi and the United States Attorney by and through Kimberly A. Sanchez,
19   hereby stipulate as follows:
20          1. By previous order, this matter was set for sentencing on January 11, 2016, at 8:30
21   a.m.
22          2. The parties agree and stipulate that Defendant’s sentencing be continued to May 16,
23   2016, at 8:30 a.m.
24          3. Additionally, the parties agree and stipulate, and request that the Court find the
25   following:
26                  a. The Defendant pled guilty on November 3, 2014. Ongoing negotiations have
27          been taking place between the Government and the Defendant.
28                  b. Mr. Martinez was referred to UCSF Medical Center on March 24, 2015, for
                                                      1
                          STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:13-CR-00077-LJO
     Case 1:13-cr-00077-LJO-BAM Document 174 Filed 01/06/16 Page 2 of 2
 1          a consultation and evaluation pertaining to a serious heart condition. He underwent

 2           coronary artery surgery on September 24, 2015, in San Francisco which was performed

 3           by Dr. Donald Grandis. He also, underwent an umbilical hernia operation on November

 4           18, 2015, at Kaweah Delta Hospital. He is scheduled to have two post-operative

 5           evaluations at UCSF Medical Center in San Francisco on February 5, 2016, and

 6           February 10, 2016.

 7                  c. The Government does not object to this continuance.

 8    IT IS SO STIPULATED.

 9                                 Respectfully submitted,

10      January 6, 2016      By: /s/ Kimberly A. Sanchez
                                 KIMBERLY A. SANCHEZ
11                               United States Attorney
12

13

14    DATED:        January 6, 2016      By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
15                                           Attorney for Defendant ROBERT MURGUIA
                                             MARTINEZ
16

17
                                                 ORDER
18
             For reasons set forth above, the continuance requested by the parties is granted for
19
      good cause.
20
             IT IS ORDERED that the sentencing currently scheduled for January 9, 2016, at 8:30
21
      a.m. is continued to May 16, 2016, at 8:30 a.m.
22
             No further continuances. On the date of sentencing, he should be ready to go into
23
      custody.
24    IT IS SO ORDERED.
25
         Dated:     January 6, 2016                          /s/ Lawrence J. O’Neill
26                                                      UNITED STATES DISTRICT JUDGE

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                          STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:13-CR-00077-LJO
